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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 INTERNATIONAL UNION, UNITED AUTOMOBILE,
 AEROSPACE, AND AGRICULTURAL IMPLEMENT
 WORKERS OF AMERICA (UAW); JAMES WARD,
 MARSHALL HUNT, and RICHARD GORDON, for    Case No. 11-cv-14434
 themselves and others similarly-situated,  (consolidated with
                                             case no. 11-cv-15497)
      Plaintiffs,
                                           Class Actions
 v.
                                           U.S. District Judge
 KELSEY-HAYES COMPANY, et al.,              George Caram Steeh
       Defendants.
 and
 UNITED STEEL, PAPER AND FORESTRY, RUBBER,
 MANUFACTURING, ENERGY, ALLIED INDUSTRIAL
 AND SERVICE WORKERS INTERNATIONAL UNION,
 AFL-CIO-CLC; RONALD STRAIT; and DANNY O.
 STEVENS, for themselves and others similarly-situated,
       Plaintiffs,
 v.
 KELSEY-HAYES COMPANY; TRW AUTOMOTIVE,
 INC.; and TRW AUTOMOTIVE HOLDINGS CORP.,
      Defendants.
 ____________________________________________/

 ORDER GRANTING FINAL APPROVAL OF CLASS SETTLEMENT AND
    DISMISSING THE CONSOLIDATED CASES WITH PREJUDICE


       This matter is before the Court pursuant to a final fairness hearing to

 determine whether to grant final approval of the class action settlement set forth in
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 the parties’ Joint Stipulation of Settlement and Release (the “Agreement”) (ECF

 #122-2 PageID 3035 et seq.). The two actions, now consolidated in case no. 11-cv-

 14434, are:

       1.      International Union, United Automobile, Aerospace, and
               Agricultural Implement Workers of America (UAW); James
               Ward, Marshall Hunt, and Richard Gordon, for themselves and
               others similarly situated v. Kelsey-Hayes Company, TRW
               Automotive Holdings Corp., and Northrup Grumman Systems
               Corporation (the “UAW action”) U.S.D.C., E.D. Mich. no.
               2:11-cv-14434 (Steeh, J.) and U.S.C.A. Sixth Cir. no. 15-2285
               and

       2.      United Steel, Paper and Forestry, Rubber, Manufacturing,
               Energy, Allied Industrial and Service Workers International
               Union, AFL-CIO-CLC; and Ronald Strait and Danny O. Stevens,
               for themselves and others similarly situated v. Kelsey-Hayes
               Company; TRW Automotive, Inc.; and TRW Automotive
               Holdings Corporation (the “USW action”), U.S.D.C., E.D.
               Mich. no. 4:11-cv-15497 and U.S.C.A. Sixth Cir. no. 16-1240.


       The two class actions address disputes about the duration of collectively-

 bargained retiree healthcare. The plaintiffs in each action include a union and a

 retiree representing a certified class of retirees and the retirees’ dependents. Each

 class action was filed in this Court in 2011. In the intervening years, the two actions

 were separately litigated in this Court and the Sixth Circuit Court of Appeals. The

 UAW appeal began in the Sixth Circuit in 2015; the USW appeal began in the Sixth

 Circuit in 2016. The UAW action was also litigated before the Supreme Court in

 Case No. 17-908 and was remanded back to the Court of Appeals.



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       Each action has been certified as a class action under Fed. R. Civ. P. 23(b)(1)

 and (b)(2). (UAW Action, ECF #92, April 28, 2015; USW Action, ECF #58, March

 18, 2013).

       The certified class in the UAW action is:

       Employees who retired under the 1998 collective bargaining agreement
       from the UAW-represented unit at the now-closed Kelsey-Hayes/TRW
       Detroit, Michigan plant and the retirees’ surviving spouses and other
       dependents eligible for company-paid retiree health insurance.

 The settlement does not include those from the Detroit plant who retired after April

 16, 2001; as paragraph 1(b) of the Agreement specifies, those retirees are covered

 by a 2013 arbitration award that came about as a result of the UAW action.

       The certified class in the USW action is:

       All persons who retired or terminated from the union-represented
       collective-bargaining unit at the Kelsey-Hayes plant in Jackson,
       Michigan under the 1995, 1999, and 2003 collective bargaining
       agreements and the retirees’ and terminating employees’ surviving
       spouses and other dependents eligible for company-paid retirement
       healthcare, including all (1) pension-eligible retired employees; (2)
       pension-ineligible employees “terminating at age 65 or older” not
       discharged “for cause”; (3) the surviving spouses of the retired and
       “terminating” employees; and (4) the “eligible dependents” of the
       retirees, “terminating” employees, and surviving spouses.


       The individuals of the certified classes in the UAW action and the USW action

 are collectively referred to in this order as the “class members.” A list of class

 members was provided to the Court as part of the parties’ proposed settlement. (ECF




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 #122-2, Exhibits A and B, PageID 3053-3060). The Agreement is intended to bind

 all the class members.

       The two class actions were joined for mediation on appeal, facilitated by Sixth

 Circuit Mediator Rod M. McFaull.               After detailed, rigorous, and lengthy

 negotiations, the parties reached the comprehensive settlement embodied in their

 Agreement, signed for all parties in February 2020 and submitted to the Court.

       The parties filed a motion for preliminary approval of their class action

 settlement, for approval of notice, and to set the deadline for class members to object.

 (Motion for Preliminary Approval, ECF #123). On August 17, 2020, this Court

 granted the parties’ motion and preliminarily approved the settlement pursuant to

 Fed. R. Civ. P. 23, approved the proposed notice to class members, set an objection

 deadline, and set the fairness hearing for December 9, 2020 at 10:00 a.m.

       Notice, in the form approved by the Court, was provided to the class members

 by a professional third-party administrator. Four class members submitted

 objections. Plaintiffs’ counsel and defendants’ counsel both responded to the

 objections presenting to the Court their views that the objections do not identify any

 reason to delay or deny final approval of the settlement and that the settlement should

 be finally approved under Fed. R. Civ. P. 23(e)(2) as fair, reasonable, and adequate.

 See ECF #124, #126, and #127.




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       The fairness hearing was held by video conference, as noticed, on December

 9, 2020. The Court finds that the class members properly were given notice of the

 pendency of this action, the proposed settlement, and the fairness hearing and other

 pertinent information, as ordered by the Court. The Court further finds that the

 notice was reasonable and the best notice practicable, and satisfied all the

 requirements of Civ. R. 23 and due process.

       The Court finds that the proposed settlement as reflected in the Agreement

 satisfies the standards for final approval of a class action settlement under Fed. R.

 Civ. P. 23(e) and that it is fair, reasonable, and adequate.

       Specifically, representative Plaintiff Danny O. Stevens is an adequate

 representative of the class members in the USW action in that he is a member of the

 class and possesses the same interests and suffered the same injuries as the class’s

 other members. The certified class in the USW action encompasses persons with

 like factual circumstances and like claims. Likewise, representative Richard Gordon

 is an adequate representative of the class members in the UAW action in that he is a

 member of the class and possesses the same interests and suffered the same injuries

 as the class’s other members. The certified class in the UAW action encompasses

 persons with like factual circumstances and like claims. Mr. Stevens and Mr.

 Gordon serve without compensation as class representatives.




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       All class members, including the class representatives, are treated alike by the

 Agreement; no class representative or class member receives preferential treatment.

 In addition, the union parties are responsible for all attorneys’ fees and costs on

 plaintiffs’ side. No part of the settlement amount will be used to pay fees or costs,

 or to reimburse the unions, or to compensate the volunteer class representatives; the

 entire settlement amount will go to the VEBA to be used to support class members’

 healthcare.

       Both sides vigorously pressed their interests throughout this litigation and,

 ultimately, reached mutually-beneficial and informed compromise at arm’s length.

 Class counsel are qualified under Fed. R. Civ. P. 23(g) and have adequately and

 admirably represented class members’ interests.

       The relief provided to the class members under the Agreement is fair,

 reasonable, and adequate, taking into account the costs, risks, and delay associated

 with trial and appeal. The legal landscape has become less favorable for retirees

 after M&G Polymers USA, LLC v. Tackett, 574 U.S. 427 (2015), which rejected

 principles that guided collectively-bargained retiree healthcare in the Sixth Circuit

 since UAW v. Yard-Man, Inc., 716 F.2d 1476 (6th Cir. 1983). Following some

 uncertainty in this circuit in the wake of the Tackett decision, the Supreme Court

 again considered collectively-bargained retiree healthcare issues in CNH Industrial

 N.V. v. Reese, 138 S. Ct. 761 (2018). Immediately after Reese was decided, the



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 Supreme Court then vacated the Sixth Circuit’s earlier judgment in favor of the

 retirees in the UAW action and remanded the UAW action to the Sixth Circuit for

 further proceedings in light of Reese. The Agreement, reached by the parties in the

 context of this new legal landscape, provides final resolution of the parties’ legal

 dispute, is expected to provide through the VEBAs comprehensive healthcare

 coverage supplementing Medicare coverage, including prescription drug coverage.

       Among other things, the new VEBA is to be associated with an existing

 VEBA that has been providing healthcare to three other groups of formerly union-

 represented industrial retirees and their families. Association with the existing

 VEBA is expected to provide the new VEBA with experience, efficiencies, and

 economies of scale. The VEBA is to be administered by fiduciaries obligated under

 ERISA to serve the interests of the VEBA participants and beneficiaries, i.e., the

 class members and their covered family members.

       The Court has considered the objections to the settlement but finds counsels’

 submissions --- as to why objections should not delay or prevent the final approval

 of the settlement --- compelling and the Court overrules the objections. The one

 USW objector restated the position of the USW retirees throughout the litigation,

 but did not account for the changes in the legal landscape that informed the

 Agreement and provided the basis for the conclusion that the Agreement and the

 compromise it entails are fair, reasonable and adequate. The USW objector, after



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 speaking with class counsel and getting an explanation of the settlement, withdrew

 his objection. The three UAW objectors invoke adjudications affecting retirees

 under different agreements, and reiterate arguments rejected previously in this

 litigation. The UAW objectors retired under a different agreement than those to

 whom they compare themselves, as this court addressed previously.

       As noted, during the pendency of these two class actions, the law governing

 the parties’ legal disputes changed substantially. At the time of filing, the parties’

 disputes were governed by Yard-Man and its progeny. The Supreme Court

 overturned the Yard-Man line of cases in Tackett in 2015 and further rejected the

 “Yard-Man inference” cases in Reese in 2018, remanding the UAW action

 immediately afterwards. The law governing the parties’ disputes is now much less

 favorable for the retirees. The settlement, the establishment of the VEBA, and the

 payment of over $30 million dollars to fund healthcare through the VEBA, all

 provide certainty and greater security for all class members than would continued

 litigation now governed by Tackett and Reese.

       The Court therefore grants final approval of the settlement as set forth in the

 Agreement and orders that the Agreement be implemented according to its terms.

       In consideration of the $30.2 million obligations undertaken by defendants in

 the Agreement, and the performance of those obligations, the class members release

 all Released Claims against all Released Parties as provided in the Agreement and



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 all class members and their successors are permanently enjoined from asserting any

 Released Claims against the Released Parties. Pursuant to the Agreement, the Court

 DISMISSES THIS CONSOLIDATED ACTION WITH PREJUDICE. The Parties

 are to bear their respective attorney’s fees and litigation costs as provided in the

 Agreement. The Court retains jurisdiction over this Action for the purpose of

 enforcing the Agreement.

       There being no just reason to delay entry of this Final Order, the Court orders

 the Clerk of the Court to enter this Final Order immediately.

       IT IS SO ORDERED.

 Dated: December 9, 2020                      s/George Caram Steeh
                                              GEORGE CARAM STEEH
                                              United States District Judge




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